       Case 2:25-cv-00197-JCZ-DPC   Document 227   Filed 06/17/25     Page 1 of 14



                                                            RECEIVED
                                                                    JUN 17 2025
                                                                  U.S. DISTRICT COURT
                                                             EASTERN DISTRICT OF LOUISIANA

                                                                    DEPUTY CLERK




                       UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA



HIRAN RODRIGUEZ,                                    CIVIL ACTION NO. 2:25-cv-00197

                                                    SECTION A
PLAINTIFF
i' -
                                                    JUDGE JAY C. ZAINEY

V.

                                                    DIVISION 2


META PLATFORM^, INC., ETAL.                         MAGISTRATE JUDGE

 DEFENDANTS                                          DONNAP. CURRAULT



                                                     JURY TRIAL DEMANDED



                 MOTION TO SUPPLEMENT THE RECORD

               (Pursuant to Fed. R. App. P. 10(e) & Rule 60(b)(6))
    Case 2:25-cv-00197-JCZ-DPC            Document 227         Filed 06/17/25      Page 2 of 14




NOW COMES Plaintiff Hiran Rodriguez, pro se, and respectfully moves this Honorable Court,

pursuant to Federal Rule of Appellate Procedure 10(e), for an order supplementing the record in

this case with newly submitted evidence (attached as Exhibit A) relevant to Plaintiffs pending

appeal and writ of mandamus. In support of this motion. Plaintiff shows as follows:




                                       INTRODUCTION



Plaintiff seeks to preserve and include material evidence in the record on appeal to ensure a

complete and accurate account of the proceedings below. Federal Rule of Appellate Procedure

10(e)(2) provides that if “anything material to either party is omitted from or misstated in the

record by error or accident,” the omission “may be corrected and a supplemental record may be

certified and forwarded” by the district court, including “before or after the record has been

forwarded.” The evidence at issue    a video and supporting declaration documenting post

dismissal retaliatory conduct - was not formally made part of the district court record due to

procedural irregularities and restrictions. This new evidence directly relates to the matters on

appeal (Fifth Circuit Case No. 25-30297) and to Plaintiffs pending petition for writ of

mandamus (Fifth Circuit Case No. 25-30279). For the reasons below. Plaintiff respectfully

submits that the record should be supplemented to include this evidence, in the interest of justice

and a full appellate review.




                                                                                                   2
    Case 2:25-cv-00197-JCZ-DPC              Document 227          Filed 06/17/25      Page 3 of 14




                    BACKGROUND AND PROCEDURAL fflSTORY



Dismissal and Omitted Evidence: On May 22, 2025, this Court entered an Order and Reasons

(Rec. Doc. 223) and Final Judgment (Rec. Doc. 224) dismissing Plaintiffs case. In that

dismissal, the Court characterized Plaintiffs claims as “frivolous” and failed to acknowledge

Plaintiffs key evidentiary submissions . Specifically, prior to dismissal. Plaintiff had formally

notified the Court that he had provided a compiled folder of evidence to all opposing counsel. On

March 25, 2025, Plaintiff filed Rec. Doc. 108, titled “Notice to Court of Submission of Evidence

to Counsel of Record,” confirming that a comprehensive set of evidentiary materials had been

delivered to Defendants’ counsel for their review and for the Court’s notice. Opposing counsel


did in fact access this evidence (as shown by electronic access logs and screenshots). However,

the Court’s dismissal order made no mention of this evidence or its implications. The omission is

significant: the evidence was provided in a good-faith effort to ensure consideration of Plaintiff’s

claims , yet it was effectively ignored in the Court’s ruling. The Court further stated that Plaintiff

failed to timely object to the U.S. Magistrate Judge’s Report and Recommendation (Rec. Doc.

137) or move to alter it - an assertion that is incorrect. In reality. Plaintiff filed timely objections

at Rec. Doc. 139 and later filed a Motion to Vacate at Rec. Doc. 177, which were pending at the


time of the Court’s decision. The failure to acknowledge these filings and the delivered evidence

indicates that material parts of the record were overlooked or not reflected in the official record.




Restrictive Filing Orders (Rec. Docs. 186, 187,188): In the weeks preceding the dismissal, the

Court issued a series of orders that crntailed Plaintiffs ability to file documents and arguably

contributed to the omission of evidence from the record. Rec. Doc. 186 and Rec. Doc. 188 (along



                                                                                                       3
   Case 2:25-cv-00197-JCZ-DPC               Document 227         Filed 06/17/25      Page 4 of 14




with a related Order at Rec. Doc. 187) directed the Clerk of Court to reject any filings from

Plaintiff that were not submitted in person or by mail, thereby barring Plaintiff from utilizing the

Court’s electronic document submission system (“EDSS”) . These orders were entered after

Plaintiff refused to acquiesce to certain conditions that he believed infiinged upon his rights -

effectively attempting to coerce Plaintiff into waiving constitutional objections he had raised .

The practical effect of Rec. Docs. 186,187, and 188 was to silence Plaintiffs remote filings and

obstruct his ability to supplement the record or respond to filings in a timely manner. Plaintiff

asserts that these measures violated his fundamental right of access to the courts, as protected by


the First and Fourteenth Amendments (see Bounds v. Smith, 430 U.S. 817 (1977), recognizing

prisoners’ fundamental right of access to courts ). Although Plaintiff is not incarcerated, the

Court’s filing restrictions similarly impeded his meaningful access by preventing the use of

standard electronic filing methods. Plaintiffs non-consent to these restrictions and his

constitutional objections were noted on the record, yet the Court’s orders remained in place

through the dismissal of the case.




Post-Dismissal Retaliatory Conduct and New Evidence: Following the May 22, 2025 dismissal.

Plaintiff experienced an escalation of hostile and retaliatory actions which he believes were

triggered by his pursuit of this lawsuit. In particular. Plaintiff noticed a surge in online

defamation, coordinated obstruction, and reputational harm directed at him, which he has reason

to trace to Defendants’ media affiliates and networks of counsel. These incidents, occurring in

the (jiays immediately after the case was dismissed, are detailed in the attached Exhibit A

(Plaintiffs Declaration, with a supporting video recording). The video evidence captures specific




                                                                                                    4
    Case 2:25-cv-00197-JCZ-DPC            Document 227         Filed 06/17/25      Page 5 of 14




instances of harassment/intunidation that Plaintiff contends were done in retaliation for his


litigation activities. This new evidence, though arising post-judgment, is highly relevant: it tends

to corroborate Plaintiffs claims of a coordinated effort to harm him (an issue central to the


underlying case) and demonstrates the ongoing impact and context of the very conduct Plaintiff

sought to challenge in this lawsuit. Moreover, the retaliatory conduct further implicates the

fairness of the proceedings below, as it suggests a continuing pattern of obstruction that may

have extended into the handling of Plaintiff s case. Because this evidence was obtained after the

final judgment - and because the Clerk, pursuant to Rec. Doc. 186/188, refused to accept

Plaintiff’s electronic submission of this material at that time - the evidence was never entered


into the district court docket despite Plaintiffs attempts. Plaintiff did, however, promptly serve

copies of the evidence (and the related declaration) on Defendants’ counsel and provided notice

to the Court by letter. For purposes of the appellate review. Plaintiff now seeks to formally add

this material to the record.




Pending Appeal and Mandamus Petition: Plaintiff has timely appealed the dismissal of this

action, and that appeal is currently pending in the U.S. Court of Appeals for the Fifth Circuit

(Case No. 25-30297). In addition. Plaintiff has filed a petition for a writ of mandamus in the

Fifth Circuit (Case No. 25-30279) addressing certain extraordinary issues in this case, including

he Court’s refusal to accept filings and oher alleged irregularities. The PACER docket confirms

hat boh the appeal and the mandamus petition remain active. The outcome of those appellate

proceedings will be affected by he completeness of the record fi-om his Court. It is herefore

critical hat he record be supplemented to include all materials necessary for a full and fair



                                                                                                     5
    Case 2:25-cv-00197-JCZ-DPC             Document 227         Filed 06/17/25      Page 6 of 14




consideration of Plaintiff s arguments. Plaintiff brings this motion now, in advance of the

appellate briefing, to ensure the new evidence (Exhibit A) and any related proof of Defendants’

access to prior evidence are part of the record transmitted to the Fifth Circuit.




                                          ARGUMENT



1. Authority to Supplement the Record Under FRAP 10(e): This Court retains the authority to

correct and supplement the record on appeal where material information was omitted “by error or

accident.” Indeed, Rule 10(e)(2)(B) of the Federal Rules of Appellate Procedure expressly

permits the district court to supplement the record “before or after the record has been

forwarded” to the court of appeals . The rule’s purpose is to ensure that the record accurately

reflects what transpired in the district court and contains all evidence relevant to the issues on

appeal. In the present case, the absence of Plaintiffs evidence and declaration from the official

record is the result of a combination of error, oversight, and vmusual procedural circumstances -

including the Court’s own filing restrictions that prevented standard docketing of the materials.

These circumstances constitute precisely the sort of omission that Rule 10(e) contemplates

correcting. The evidence in question is unquestionably material to Plaintiffs case; it goes to the

heart of Plaintiff s claims of coordinated wrongful conduct and retaliation, and it provides

context for Plaintiffs post-judgment allegations of judicial and party misconduct. Because this

material was effectively before the Court (through notice in Rec. Doc. 108 and service on

counsel) but was not formally made part of the record, its omission is an error to be rectified. The

Court should exercise its Rule 10(e) authority to order that the record be supplemented with the




                                                                                                     6
    Case 2:25-cv-00197-JCZ-DPC             Document 227         Filed 06/17/25      Page 7 of 14




omitted evidence now, rather than leave the appellate court with an incomplete picture of the

case.




2. Relevance and Importance of the New Evidence: Courts have recognized that while Rule

10(e) is not a vehicle to introduce wholly new evidence unrelated to the trial court proceedings, it

is appropriate to supplement the record with evidence that “accurately reflect[s] what happened

in the district court” or that was constructively before the court even if not formally filed . Here,

the video and declaration in Exhibit A, though obtained after the final judgment, relate back to

and illuminate the events dming the litigation. The declaration describes how Defendants’

representatives accessed Plaintiff’s evidence in March 2025 (an event noted in Rec. Doc. 108)

and how, subsequently, a campaign of defamation and harassment was directed at Plaintiff in

retaliation . These facts reinforce Plaintiff s argument that his evidence was known to

Defendants and that negative actions were taken in response - a point which undermines the

finding of fiivolousness and supports Plaintiffs contentions on appeal. Because the district court

failed to acknowledge the evidentiary delivery and its consequences in its ruling , the appellate

court would, absent supplementation, be left unaware of a critical aspect of the case history.

Supplementing the record will ensure the Fifth Circuit can consider whether the district court’s

dismissal overlooked key evidence or was influenced by the very retaliatory conduct now

documented.




                                                                                                        7
    Case 2:25-cv-00197-JCZ-DPC             Document 227         Filed 06/17/25      Page 8 of 14




Additionally, the orders atRec. Docs. 186,187,188 created a procedural anomaly that justifies

supplementation now. By precluding electronic filings and thereby impeding Plaintiffs

submissions, those orders effectively caused evidence to remain off-docket. It would be unjust

for Defendants to benefit on appeal from a record that omits evidence simply because Plaintiff

was procedurally barred from filing it in the ordinary course. The Fifth Circuit has the power to

remand for fact-finding or direct inclusion of omitted materials, but judicial economy favors

addressing the issue here and now in the district court. This Court can settle any dispute about

what belongs in the record, as Rule 10(e)(1) envisions, and thus present the appellate tribunal

with a true and complete record of proceedings .




3. No Prejudice and Preservation of Appellate Rights: Allowing supplementation will not

prejudice Defendants or alter the substantive decision already on appeal; rather, it will place all

parties on an even footing by ensuring the appellate court considers the same evidentiary picture

that should have been before the district court. Defendants have been aware of the evidence in


question since March 2025 (when the folder was shared) and certainly since Plaintiff attempted

to file the Exhibit A materials in early June 2025. They cannot credibly claim surprise or unfair

disadvantage by the formal inclusion of this material now. If anything, supplementing the record

will encourage an honest evaluation of the case’s merits on appeal, which benefits the integrity

of the judicial process. Moreover, denying supplementation would effectively reward the very

tactics that kept this evidence out of the record (whether those be clerical policies or adversarial

maneuvering) and would sanction an incomplete record. This Court should instead err on the

side of completeness and transparency . Plaintiff is simply asking that the appellate review




                                                                                                       8
    Case 2:25-cv-00197-JCZ-DPC             Document 227         Filed 06/17/25      Page 9 of 14




proceed on the basis of a full record, including evidence of Defendants’ access to his materials

and subsequent retaliatory acts, as these bear on issues of bias, credibility, and potential

misconduct.




Finally, Plaintiff notes that his accompanying petition for mandamus (No. 25-30279) directly

addresses some of the procedural irregularities herein - such as the filing restrictions and the

Court’s handling of Plaintiff s submissions. Supplementing the record in this case with Exhibit A

will also ensure that the mandamus court (the Fifth Circuit) has access to the same factual record

when evaluating Plaintiffs allegations of judicial and procedural impropriety. Given that

mandamus is an extraordinary remedy, a complete record is paramount for such review. In sum.

whether viewed through the lens of FRAP 10(e) or the Court’s inherent authority to manage its

records, the inclusion of Plaintiff s proffered evidence is necessary to preserve the integrity of

the appellate process.




                         CONCLUSION AND PRAYER FOR RELIEF



For the foregoing reasons. Plaintiff respectfully requests that this Motion be GRANTED.

Plaintiff asks that the Court enter an order directing the Clerk of Court to supplement the record

in this matter to include the evidence attached hereto as Exhibit A (Plaintiffs Declaration dated


June 2025 with accompanying video file and screenshots). Plaintiff further requests that the

Court certify this supplemental material as part of the record on appeal in Fifth Circuit Case No.

25-30297, and transmit the same to the Fifth Circuit. In the alternative, should the Court



                                                                                                     9
   Case 2:25-cv-00197-JCZ-DPC              Document 227         Filed 06/17/25      Page 10 of 14




determine that additional steps are required to admit this evidence into the record, Plaintiff prays

for such other relief as may be just and necessary to effectuate the inclusion of the evidence (for

example, reopening the record for the limited purpose of admitting Exhibit A, or indicating on

the record that the Court would have considered the evidence had it been timely filed, etc.).




Plaintiff also reserves all rights with respect to challenging the fairness and legality of the

proceedings to date. Granting this motion will advance a complete and truthful review on appeal.

and will not disturb the final judgment other than to ensure the record forwarded is accurate and

comprehensive. Plaintiff therefore urges the Court to grant the relief requested in order to uphold

the proper administration of justice.


Respectfully submitted, this 4th day of Jime, 2025.


Hiran Rodriguez


PlaintiffPro Se


820 Grove Avenue




Metairie, LA 70003-7024



Tel: 504-203-8459 / Email: hiranrodriguez@outlook.com




/s/ Hiran Rodriguez (Signed with consent)




                                                                                                   10
   Case 2:25-cv-00197-JCZ-DPC             Document 227         Filed 06/17/25      Page 11 of 14




       RESERVATION OF RIGHTS AND NON-CONSENT DECLARATION



Plaintiff expressly reserves all rights, remedies, and protections secured undfer the Constitution and

laws of the United States, including but not limited to those under the First, Fourth, Fifth, Sixth,

Seventh, and Fourteenth Amendments. No waiver of any such rights - either substantive or

procedural - is intended or implied by the filing of this motion or any previous or future

participation in this case. Plaintiff further declares that he does not consent to any proceedings.

orders, or requirements that are contrary to or beyond the lawful authority of the Court or that

violate his constitutional rights. By submitting this motion. Plaintiff does not consent to the

jurisdiction of any magistrate judge on any dispositive matter, and he reserves the right to challenge

ex post facto any act which exceeds the Court’s jurisdiction or contravenes due process. All

objections and exceptions are preserved to the fullest extent of the law.




                                                                                                   11
   Case 2:25-cv-00197-JCZ-DPC            Document 227        Filed 06/17/25      Page 12 of 14




                                CERTIFICATE OF SERVICE



I hereby certify that a true and correct copy of the foregoing Motion to Supplement the Record

(with Exhibit A) was served upon all counsel of record on this 4th day of June, 2025; In light of

the Court’s filing restrictions (Rec. Docs. 186 and 188) which prevent electronic filing by the

undersigned, service was effectuated by electronic mail to counsel at the email addresses listed

below, and/or by any alternative means required to ensure delivery. The service list includes all

counsel who have appeared in this action:


       ddeamore@bakerdonelson.com

   •   ekesler@bakerdonelson.com

       lcarlisle@bakerdonelson.com

       psigmon@bakerdonelson.com

       ptorres@bakerdonelson.com

       scefolia@bakerdonelson.com

       eve.masinter@bswllp. com

       jamie.blanchard@bswllp.com

       karen.webre@bswllp.com

       margaret.beyer@bswllp.com

       philip.giorlando@bswllp.com

       colin.cisco@jeffparish.net

       rharang@j ef^arish.net

       hailey.cummiskey@arlaw.com

       roland.vandenweghe@arlaw.com



                                                                                                   12
Case 2:25-cv-00197-JCZ-DPC       Document 227   Filed 06/17/25   Page 13 of 14




   yvonne.evans@arlaw.com

   cfalcon@couringtpn-law.com

   ckrake@courington-law.com

   dculotta@courington-law.com

   spratt@courington-law.com

   vmatheme@courington-law.com

   lmince@fishmanhaygood.com

   jenny@snw.law

   katherine@snw.law

   meriem@snw.law

   scott@snw.law

   suzy@snw.law

   teena@snw.law

   edesforges@phjlaw.com

   jnieset@phj law. com

   christinehanley @dwt. com

   firankromero@dwt.com

   jamesmoon@dwt.com

   Tkarlaolivas@dwt.com

   lindsaysamuel@dwt.com

   lit-docket@dwt.com

   tonyafrazier@dwt.com

   ataylor@irwinllc.com




                                                                             13
   Case 2:25-cv-00197-JCZ-DPC    Document 227   Filed 06/17/25   Page 14 of 14




   •   giirquhart@irwinllc.com

   •   lrichard@irwinllc.com

   •   rlotz@irwinllc.com

   •   starr@irwinllc.com




Executed on June 4,2025.




/s/ Hiran Rodriguez


Hhan Rodriguez, Plaintiff




                                                                             14
